                     Case 21-32299 Document 20 Filed in TXSB on 07/21/21 Page 1 of 29




Ftll 111 this 1nforrnat1on to identify the case·

Debtor name        11500 Space Center, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (� known)
                            -----------
                            21-32299
                                                                                                                            O Check if this is an
                                                                                                                              amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An Individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
fonn for the schedules of assets and liabllltles, any other document that requires a declaration that is not Included In the document, and any
amendments of thou documents. Thia fonn must state the lndlvldual's position or relationship to the debtor, the Identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Oeclaratlon and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      Individual serving as a representative of the debtor in this case.

       I have examined the informatlon in the documents checked below and I have a reasonable belief that the information is true and correct:

        ■        Schedule AIB: Asset►Rea/ and Persona/ Property {Official Form 206A/B)
        ■        Schedule D: Creditors lMlo Have Claims Secured by Property {Official Form 2060)
        ■        Schedule EIF: Creditors lM!o Have Unsecured Claims (Official Form 206E/F)
        ■        Schedule G: Executory Contracts and Unexpired Leases {Official Form 206G)
        ■        Schedule H: Codebtors {Official Form 206H)
        □
        xx       Summary of Assets and Uabilities for Non-Individuals {Official Form 206Sum)
        D        Amended Schedule
        □        Chapter 11 or Chapter 9 Cases: Ust of Creditors lM!o Have tha 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        O        Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is t

        Executed on        July 20, 2021


                                                                 John Kevin Munz
                                                                 Printed name

                                                                 President of Manager
                                                                 Position or relationship to debtor




Official Form 202                                         Declaration Under Penalty of Perjury for Non-lndlvldual Debtors
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                              Case 21-32299 Document 20 Filed in TXSB on 07/21/21 Page 2 of 29

 Fill in this information to identify the case:

 Debtor name            11500 Space Center, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               21-32299
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $      30,815,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                462.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      30,815,462.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      16,993,805.29


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        9,250,455.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        26,244,261.07




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32299
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Veritex Bank                                           Checking                         3952                                        $462.60



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                       $462.60
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         11500 Space Center, LLC                                                       Case number (If known) 21-32299
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Being a 4.319 Acre of
                     improved real
                     property located at
                     11500 Space Center
                     Blvd. Houston, TX
                     77059 and more
                     particularly
                     described in
                     Schedule Exhibit A55
                     attached hereto.                     Fee simple              $25,680,262.90      Appraisal                       $30,815,000.00




 56.       Total of Part 9.                                                                                                         $30,815,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         11500 Space Center, LLC                                                      Case number (If known) 21-32299
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Potential breach of lease claim against Sacred Oak
            Medical Center, LLC and Jason Leday as guarantor                                                                               Unknown
            Nature of claim
            Amount requested                                             $0.00


            Claims against Majestic Investments, LLC and Majestic
            Properties, asserted in Cause No. 2021-32374, 11500
            Space Center, LLC, Space Center Land Development,
            LLC and Sacred Oaks Medical Center, LLC including,
            but not limited to , breach of contract, breach of
            fiduciary duty and tortious interference.                                                                                            $0.00
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            Rents and associated charges from Sacred Oaks
            Medical, LLC                                                                                                                   Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         11500 Space Center, LLC                                                      Case number (If known) 21-32299
                Name




 78.       Total of Part 11.                                                                                                           $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor          11500 Space Center, LLC                                                                             Case number (If known) 21-32299
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $462.60

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $30,815,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                   $462.60        + 91b.           $30,815,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $30,815,462.60




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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 Fill in this information to identify the case:

 Debtor name          11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              21-32299
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Architectural Division 8                      Describe debtor's property that is subject to a lien                $144,887.85           $30,815,000.00
        Creditor's Name                               Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
        2425 Brockton                                 TX 77059 and more particularly described in
        Suite 101                                     Schedule Exhibit A55 attached hereto.
        San Antonio, TX 78217
        Creditor's mailing address                    Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed
        1. Smart Financial
        2. PEAH Capital LLC
        3. TaxCore Lending LLC
        4. Architectural Division 8
        5. Clearpoint Crossing
        Property Owners Assn
        6. Wilson Fire Equipment &
        Service Co Inc
        7. L&W Supply Corporation
        8. Private Capital Group
        Inc.
        9. Propel Financial
        Services LLC
        10. Triple J Contractors,
        LLC

        Clearpoint Crossing
 2.2                                                                                                                          $4,432.59         $30,815,000.00
        Property Owners Assn                          Describe debtor's property that is subject to a lien




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 7
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 Debtor       11500 Space Center, LLC                                                                 Case number (if known)     21-32299
              Name

       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
       1302 Waugh Dr. #386                            Schedule Exhibit A55 attached hereto.
       Houston, TX 77019
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1

 2.3   L&W Supply Corporation                         Describe debtor's property that is subject to a lien                     $29,766.75   $30,815,000.00
       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
       1415 E. Broadway                               Schedule Exhibit A55 attached hereto.
       Pearland, TX 77581
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1

 2.4   Majestic Properties LLC                        Describe debtor's property that is subject to a lien                 $4,703,279.32              $0.00
       Creditor's Name                                Claims against Majestic Investments, LLC
                                                      and Majestic Properties, asserted in Cause
                                                      No. 2021-32374, 11500 Space Center, LLC,
                                                      Space Center Land Development, LLC and
                                                      Sacred Oaks Medical Center, LLC including,
       PO Box 580426                                  but not limited to , breach of co
       Houston, TX 77258-0426
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 7
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 Debtor       11500 Space Center, LLC                                                                 Case number (if known)     21-32299
              Name

       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed


       National Motion Concepts
 2.5                                                                                                                       $1,151,978.00              $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Secured by real property owned by affiliated
                                                      entity. Principal loan balance
       7652 Greenbriar Road
       Madisonville, TX 77864
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   PEAH Capital LLC                               Describe debtor's property that is subject to a lien                 $3,414,962.67    $30,815,000.00
       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
       2650 NW 5th Avenue                             Schedule Exhibit A55 attached hereto.
       Miami, FL 33127
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.7   Private Capital Group Inc.                     Describe debtor's property that is subject to a lien                     $86,900.01   $30,815,000.00


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 7
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 Debtor       11500 Space Center, LLC                                                                 Case number (if known)      21-32299
              Name

       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
       160 W. Canyon Crest Rd                         Schedule Exhibit A55 attached hereto.
       Alpine, UT 84004
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien- on appeal
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1

       Propel Financial Services
 2.8                                                                                                                           $192,108.14   $30,815,000.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
       P.O. Box 100350                                Schedule Exhibit A55 attached hereto.
       San Antonio, TX 78201
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.9   Smart Financial                                Describe debtor's property that is subject to a lien                 $6,200,000.00     $30,815,000.00
       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
       6051 North Course Drive                        TX 77059 and more particularly described in
       Suite 100                                      Schedule Exhibit A55 attached hereto.
       Houston, TX 77072
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 7
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 Debtor       11500 Space Center, LLC                                                                 Case number (if known)      21-32299
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       Attn: Sean Price
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.1
 0     TaxCore Lending LLC                            Describe debtor's property that is subject to a lien                     $681,173.96   $30,815,000.00
       Creditor's Name                                Being a 4.319 Acre of improved real property
       4849 Greenville Avenue                         located at 11500 Space Center Blvd. Houston,
       Tower Two                                      TX 77059 and more particularly described in
       Suite 1620                                     Schedule Exhibit A55 attached hereto.
       Dallas, TX 75206
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.1
 1     Triple J Contractors, LLC                      Describe debtor's property that is subject to a lien                     $371,682.98   $30,815,000.00
       Creditor's Name                                Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
       9901 West Fairmont                             TX 77059 and more particularly described in
       Parkway                                        Schedule Exhibit A55 attached hereto.
       La Porte, TX 77571
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 7
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 Debtor       11500 Space Center, LLC                                                                 Case number (if known)       21-32299
              Name

 2.1    Wilson Fire Equipment &
 2      Service Co Inc                                Describe debtor's property that is subject to a lien                      $12,633.02     $30,815,000.00
        Creditor's Name                               Being a 4.319 Acre of improved real property
                                                      located at 11500 Space Center Blvd. Houston,
                                                      TX 77059 and more particularly described in
        7303 Empire Central Dr                        Schedule Exhibit A55 attached hereto.
        Houston, TX 77040
        Creditor's mailing address                    Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed
        Specified on line 2.1

                                                                                                                               $16,993,805.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        29

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         Howard Marc Spector
         Spector & Cox                                                                                         Line   2.8
         12770 Coit Rd
         Suite 850
         Dallas, TX 75251

         James W. Doyle
         Winstead PC                                                                                           Line   2.9
         600 Travis Street
         Suite 5200
         Houston, TX 77002

         Jeff Leaverton
         Padfield & Stout                                                                                      Line   2.6
         420 Throckmorton Street
         Fort Worth, TX 76102

         Konor Cormier
         Mehaffy Weber pC                                                                                      Line   2.7
         500 Dallas St.
         Suite 2800
         Houston, TX 77002

         Propel Financial Services
         Attn Jessica Hernandez                                                                                Line   2.8
         1272 Silicon Dr.
         Houston, TX 77249


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 7
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 Debtor       11500 Space Center, LLC                                                   Case number (if known)   21-32299
              Name

        Rob Harlow / Thad Armstrong
        Jackson Walker, LLP                                                                     Line   2.4
        1401 McKinney
        Suite 1900
        Houston, TX 77010

        Timothy C. Ross
        Andrews Myers, P.C.                                                                     Line   2.12
        1885 Saint James Place, 15th Fl
        Houston, TX 77056




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                 page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          21-32299
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $875,815.14
           J. Kevin Munz                                                      Contingent
           3011 Ferndale St.                                                  Unliquidated
           Houston, TX 77098                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $45,803.36
           O'Connor & Associates                                              Contingent
           2200 North Loop West                                               Unliquidated
           Suite 200                                                          Disputed
           Houston, TX 77018
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $8,328,837.28
           SOMC Citadel LLC                                                   Contingent
           11500 Space Center                                                 Unliquidated
           Houston, TX 77019                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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                        Case 21-32299 Document 20 Filed in TXSB on 07/21/21 Page 16 of 29

 Debtor       11500 Space Center, LLC                                                            Case number (if known)        21-32299
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  9,250,455.78

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    9,250,455.78




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32299
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Debtor is landlord with
              lease is for and the nature of              respect to commerical
              the debtor's interest                       lease of nonresidential
                                                          real property and
                                                          hospital leased to
                                                          Sacred Oak Medical
                                                          Center, LLC.
                  State the term remaining
                                                                                        Sacred Oak Medical Center, LLC
              List the contract number of any                                           11500 Space Center Blvd
                    government contract                                                 Houston, TX 77058




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32299
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      John K Munz                                                                        Majestic                        D
                                                                                                                                 E/F
                                                                                                                                G



    2.2      John K. Munz                                                                       PEAH Capital, LLC               D
                                                                                                                                 E/F
                                                                                                                                G



    2.3      Sacred Oak                        11500 Space Center                               Wilson Fire                     D       2.12
             Medical Center                    Houston, TX 77019                                Equipment & Service              E/F
                                                                                                Co Inc
                                                                                                                                G



    2.4      Space Center                      11500 Space Center Blvd                          Private Capital Group           D       2.7
             Blvd Land                         Houston, TX 77019                                Inc.                             E/F
             Development LP
                                                                                                                                G



    2.5      Space Center                      11500 Space Center Blvd                          Majestic                        D
             Blvd Land                         Houston, TX 77019                                                                 E/F
             Development LP                                                                                                     G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         11500 Space Center, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32299
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                          $0.00
       From 1/01/2021 to Filing Date
                                        To be supplemented                                      Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See attached SOFA Exhibit 3                                                                         $0.00        Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor       11500 Space Center, LLC                                                                   Case number (if known) 21-32299



    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    TO BE SUPPLEMENTED                                                                                  $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    11500 Space Center LLC v.                         Contract                   152nd Judicial District in                   Pending
               Majestic Investments LLC                                                     Harris County                              On appeal
               202132374                                                                    201 Caroline St
                                                                                                                                       Concluded
                                                                                            Houston, TX 77002

       7.2.    PCG Credit Partners, LLC v                        Contract                   61st Judicial Dist Ct in                     Pending
               11500 Space Center LLC                                                       Harris Cty, TX                             On appeal
               202122733                                                                    201 Caroline
                                                                                                                                       Concluded
                                                                                            Houston, TX 77002

       7.3.    L&W Supply Corporation                            Contract                   125th Judicial Dist Ct in                    Pending
               (DBA Building Specialties) v.                                                Harris Cty, TX                             On appeal
               Triple J Contractors, LLC,                                                   201 Caroline
                                                                                                                                       Concluded
               Christian Edward Jarvis,                                                     Houston, TX 77002
               Individually, Tyler Blanc
               Jarvis, Individually, 11500
               Space Center, LLC,
               Clearpoint Crossing Property
               Owners Association, Space
               Center Blvd, Land
               Development, LP and Mr.
               Money Holdings, Inc.
               202129499




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        11500 Space Center, LLC                                                                      Case number (if known) 21-32299



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.4.    11500 Space Center LLC v                          Property Tax                 125th Judicial Dist in Harris               Pending
               Harris County Appraisal                                                        Cty, TX                                   On appeal
               District
                                                                                                                                        Concluded
               202054033

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss              Value of property
       how the loss occurred                                                                                                                                      lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Haselden Farrow PLLC                                                                                           5/27/2021 -
                700 Milam                                                                                                      $10,000
                Suite 1300                                                                                                     6/02/2021 -
                Houston, TX 77002                                                                                              $20,000                      $30,000.00

                Email or website address
                mhaselden@haseldenfarrow.com

                Who made the payment, if not debtor?
                John & Sandra Munz



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor      11500 Space Center, LLC                                                                     Case number (if known) 21-32299




       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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 Debtor      11500 Space Center, LLC                                                                    Case number (if known) 21-32299




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Sacred Oak Medical Center, LLC                                11500 Space Center Blvd              FFE for psychiatric hospital,              Unknown
       11500 Space Center Blvd                                       Houston, TX 77058                    including , but not limited to,
       Houston, TX 77058                                                                                  medical machinery &
                                                                                                          equipment, bedding,
                                                                                                          furniture, supplies, linens and
                                                                                                          other items utilized in a
                                                                                                          hospital.


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
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 Debtor      11500 Space Center, LLC                                                                    Case number (if known) 21-32299




           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Alan Ashworth CPA, PLLC
                    301 Forest Lane
                    Huntsville, TX 77340

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Alan Ashworth CPA, PLLC
                    301 Forest Lane
                    Damon, TX 77430

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

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 Debtor      11500 Space Center, LLC                                                                    Case number (if known) 21-32299




           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       KSCM Holdingx, LP                              1302 Waugh                                          Membership interest                   97.15%
                                                      Houston, TX 77019                                                                         (possibly
                                                                                                                                                100%, 2.85 %
                                                                                                                                                interest
                                                                                                                                                alleged to be
                                                                                                                                                held by
                                                                                                                                                minority
                                                                                                                                                member is
                                                                                                                                                disputed).


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 See SOFA 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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     Debtor      11500 Space Center, LLC                                                                    Case number /1/l<nown) _2""1_-_3_2_2""'"99
                                                                                                                                                     _ _________



     32. Within 6 years before flllng this case, has the debtor as an employer been responsible for contributing to a pension fund?

           ■D   No
                Yes. Identify below.

          Name of the pension fund                                                                                 Employer Identification number of the parent
                                                                                                                   corporation

     ■@ICM Signature and Declaration
           WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
           connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
           18 U.S.C. §§ 152, 1341, 1519, and 3571.

           I have examined the Information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
           and correct.

           I declare under penalty of perjury that the foregoing is true and correct.

      Executed on        July 19, 2021

                                                                                      vln Munz


                                                President of Manager




     □■
··   Are additional pages to Statement of Financial Affairs for Non-Individuals Fifing for Bankruptcy (Official Form 207) attached?
          No
          Yes




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                                                                    *The schedule is a full account detail including numerous deposits to Debtor's account from J. Munz.
                                                                                                                                        EXHIBIT
                                                                                                                                      SOFA EXHIBIT 3
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